Case 1:19-cr-10080-NMG Document 972-15 Filed 03/25/20 Page 1 of 6




                 EXHIBIT O
Case 1:19-cr-10080-NMG Document 972-15 Filed 03/25/20 Page 2 of 6
        Case 1:19-cr-10080-NMG Document 972-15 Filed 03/25/20 Page 3 of 6



Of course defense lawyers pontificated as to the meaning of the October 2, 2018 Note in pleadings and press
comments, including yours truly; however, in the last analysis, the government fulfilled its obligation with integrity.
While the competing tension between the attorney client privilege and the government’s Brady and its progeny,
obligation raises interesting legal issues, the October 2, 2018, appears with additional Singer notes in eight separate
iPhone images and extractions, and Ms. Strachan’s concerns as to duty I perceived to require a limited waiver of
privilege.

It’s disappointing to me as a former prosecutor, that the government lawyers are vilified without justification, but
that mirrors in many ways the discordant and disconcerting political world we live in, where lies and distortion have
replaced factual averments. In the last analysis, Mr. Singer has pleaded guilty to multiple felonies, all involving
greed and stupidity and the merging together, since it takes two to tango, of Mr. Singer, the enabling protagonist
with wealthy individuals, to wit, parents who for vanity, arrogance and a basis to brag is some cases, had the conceit
and arrogance to commit criminal offenses because they had the money do so. The point that is missed in this
diversionary attack, is that each of these parents were recorded on wiretaps with Mr. Singer and in
subsequent consensual recordings which discussed dollar amounts, vehicles of deceit, to wit, in some case false
profiles, falsified SATs and ACT tests and essentially, the res gestae of a quid pro quo, in addition to mail, wire
fraud as well as in some cases, tax fraud.
There is no attorney client privilege waiver in this case. If you seek a Rule 17(b) subpoena ex parte, please alert the
magistrate judge or the district of Mr. Singer’s position. Regards, Don Heller
Donald H. Heller
Donald H. Heller, A Law Corporation
3638 American River Drive
Sacramento, CA 95864
(916) 974-3500
(916) 974-2077 (Direct)
(916) 520-3497 (Fax)
American Board of Trial Advocates (ABOTA), Sacramento Valley Chapter – 2017 Trial Lawyer of the Year
Member, Executive Committee, Criminal Law Section, California Lawyers Association
Website: www.donaldhellerlaw.com<http://www.donaldhellerlaw.com/>
Attorney/Client Privileged Communication
CONFIDENTIALITY NOTICE: This communication with its contents may contain confidential and/or legally
privileged information. It is solely for the use of the intended recipient(s). Unauthorized interception, review, use or
disclosure is prohibited and may violate applicable laws including the Electronic Communications Privacy Act. If
you are not the intended recipient, please contact the sender and destroy all copies of the communication

From: Beirne, Eoin <EPBeirne@mintz.com>
Sent: Thursday, March 05, 2020 6:40 PM
To: Donald H.Heller <dheller@donaldhellerlaw.com>
Cc: karin.bell@usdoj.gov; Rosen, Eric (USAMA) <Eric.Rosen@usdoj.gov>; O'Connell, Justin (USAMA)
<Justin.O'Connell@usdoj.gov>; Wright, Leslie (USAMA) <Leslie.Wright@usdoj.gov>; Kearney, Kristen
(USAMA) <Kristen.Kearney@usdoj.gov>; Popeo, R. Robert <RRPopeo@mintz.com>; Robinson, Mark
<MERobinson@mintz.com>; Flashner, Cory <CSFlashner@mintz.com>; McGee-Tubb, Mathilda <MSMcGee-
Tubb@mintz.com>; Mulcahy, Peter <PCMulcahy@mintz.com>
Subject: RE: Document Preservation Notice - US v. Sidoo, et al.

Thanks, Don

I appreciate your confirming receipt of our letter and assume you agree to preserve all relevant materials. Please let
me know if you don’t

The government indicated to defense counsel on 2/26/20 that Mr. Singer had waived privilege over notes created on
his iPhone. We would be grateful if you could confirm what the government represented and that Mr. Singer did in
fact waive privilege with respect to those notes.

I look forward to speaking further, as I am sure we will.
        Case 1:19-cr-10080-NMG Document 972-15 Filed 03/25/20 Page 4 of 6



Best,

Eoin


Eóin Beirne | Member
Mintz, Levin, Cohn, Ferris, Glovsky and Popeo, P.C.
One Financial Center | Boston, MA 02111
Direct: +1.617.348.1707<tel:+1.617.348.1707> | Fax: +1.617.542.2241<tel:+1.617.542.2241>
E-mail: EPBeirne@mintz.com<mailto:EPBeirne@mintz.com>
Web: www mintz.com<http://www.mintz.com/>

[cid:image001.jpg@01D5F7CB.1FEF0EC0]

From: Donald H.Heller <dheller@donaldhellerlaw.com>
Sent: Thursday, March 5, 2020 9:31 PM
To: Beirne, Eoin <EPBeirne@mintz.com>
Cc: karin.bell@usdoj.gov; Rosen, Eric (USAMA) <Eric.Rosen@usdoj.gov>; O'Connell, Justin (USAMA)
<Justin.O'Connell@usdoj.gov>; Wright, Leslie (USAMA) <Leslie.Wright@usdoj.gov>; Kearney, Kristen
(USAMA) <Kristen.Kearney@usdoj.gov>; Popeo, R. Robert <RRPopeo@mintz.com>; Robinson, Mark
<MERobinson@mintz.com>; Flashner, Cory <CSFlashner@mintz.com>; McGee-Tubb, Mathilda <MSMcGee-
Tubb@mintz.com>; Mulcahy, Peter <PCMulcahy@mintz.com>
Subject: RE: Document Preservation Notice - US v. Sidoo, et al.

Dear Eoin, I am in receipt of your email which contained a letter regarding preserving documentation in connection
with my representation of Rick Singer. In my 50 years as a lawyer I have never received such a document. So first
of all, California Business and Professions Code section 6068 (e)(1) requires me to: “. . . Maintain inviolate the
confidence, and at every peril to himself or herself to preserve the secrets, of his or her client.” I'm sure there is a
New York equivalent to 6068 (e)(1), since I'm also a member of the New York bar. I noticed that you
attended Brooklyn Law School and so did I, the school must have ended instruction on the very important subject of
the attorney-client privilege. As I observed the conduct of defense lawyers in the admissions case, it reminded me of
a rejoinder I learned in the New York County District Attorney's Office years ago from a now Senior District Judge
in Manhattan. It was part of our early training for situations when you oppose a lawyer who moves to personal
attack rather than focus on the evidence, because he has no defense. The retort goes something like this, “when you
can't win on the law, you try the facts, and when you can't win on either, you try the prosecutor. My attorney/client
privileged communications will remain secret at all peril to myself. What I do know is that no one from the
government side, AUSAs or agents, ever threatened, intimidated or directed my client to lie in my presence. So I
will see you in Court Pal. Donald H. Heller

Donald H. Heller
Donald H. Heller, A Law Corporation
3638 American River Drive
Sacramento, CA 95864
(916) 974-3500
(916) 974-2077 (Direct)
(916) 520-3497 (Fax)
American Board of Trial Advocates (ABOTA), Sacramento Valley Chapter – 2017 Trial Lawyer of the Year
Member, Executive Committee, Criminal Law Section, California Lawyers Association
Website: www.donaldhellerlaw.com<http://www.donaldhellerlaw.com/>
Attorney/Client Privileged Communication
CONFIDENTIALITY NOTICE: This communication with its contents may contain confidential and/or legally
privileged information. It is solely for the use of the intended recipient(s). Unauthorized interception, review, use or
disclosure is prohibited and may violate applicable laws including the Electronic Communications Privacy Act. If
you are not the intended recipient, please contact the sender and destroy all copies of the communication

From: Beirne, Eoin <EPBeirne@mintz.com<mailto:EPBeirne@mintz.com>>
        Case 1:19-cr-10080-NMG Document 972-15 Filed 03/25/20 Page 5 of 6



Sent: Thursday, March 05, 2020 3:36 PM
To: Donald H.Heller <dheller@donaldhellerlaw.com<mailto:dheller@donaldhellerlaw.com>>
Cc: karin.bell@usdoj.gov<mailto:karin.bell@usdoj.gov>; Rosen, Eric (USAMA)
<Eric.Rosen@usdoj.gov<mailto:Eric.Rosen@usdoj.gov>>; O'Connell, Justin (USAMA)
<Justin.O'Connell@usdoj.gov>; Wright, Leslie (USAMA)
<Leslie.Wright@usdoj.gov<mailto:Leslie.Wright@usdoj.gov>>; Kearney, Kristen (USAMA)
<Kristen.Kearney@usdoj.gov<mailto:Kristen.Kearney@usdoj.gov>>; Popeo, R. Robert
<RRPopeo@mintz.com<mailto:RRPopeo@mintz.com>>; Robinson, Mark
<MERobinson@mintz.com<mailto:MERobinson@mintz.com>>; Flashner, Cory
<CSFlashner@mintz.com<mailto:CSFlashner@mintz.com>>; McGee-Tubb, Mathilda <MSMcGee-
Tubb@mintz.com<mailto:MSMcGee-Tubb@mintz.com>>; Mulcahy, Peter
<PCMulcahy@mintz.com<mailto:PCMulcahy@mintz.com>>
Subject: RE: Document Preservation Notice - US v. Sidoo, et al.

Please find attached a revised letter with the correct dates of meetings we understand you attended or participated in.

Thanks and best,

Eoin


Eóin Beirne | Member
Mintz, Levin, Cohn, Ferris, Glovsky and Popeo, P.C.
One Financial Center | Boston, MA 02111
Direct: +1.617.348.1707<tel:+1.617.348.1707> | Fax: +1.617.542.2241<tel:+1.617.542.2241>
E-mail: EPBeirne@mintz.com<mailto:EPBeirne@mintz.com>
Web: www mintz.com<http://www.mintz.com/>

[cid:image003.jpg@01D5F6E6.9316E5C0]

From: Beirne, Eoin <EPBeirne@mintz.com<mailto:EPBeirne@mintz.com>>
Sent: Thursday, March 5, 2020 5:41 PM
To: dheller@donaldhellerlaw.com<mailto:dheller@donaldhellerlaw.com>
Cc: karin.bell@usdoj.gov<mailto:karin.bell@usdoj.gov>; Rosen, Eric (USAMA)
<Eric.Rosen@usdoj.gov<mailto:Eric.Rosen@usdoj.gov>>; O'Connell, Justin (USAMA)
<Justin.O'Connell@usdoj.gov>; Wright, Leslie (USAMA)
<Leslie.Wright@usdoj.gov<mailto:Leslie.Wright@usdoj.gov>>; Kearney, Kristen (USAMA)
<Kristen.Kearney@usdoj.gov<mailto:Kristen.Kearney@usdoj.gov>>; Popeo, R. Robert
<RRPopeo@mintz.com<mailto:RRPopeo@mintz.com>>; Robinson, Mark
<MERobinson@mintz.com<mailto:MERobinson@mintz.com>>; Flashner, Cory
<CSFlashner@mintz.com<mailto:CSFlashner@mintz.com>>; McGee-Tubb, Mathilda <MSMcGee-
Tubb@mintz.com<mailto:MSMcGee-Tubb@mintz.com>>; Mulcahy, Peter
<PCMulcahy@mintz.com<mailto:PCMulcahy@mintz.com>>
Subject: Document Preservation Notice - US v. Sidoo, et al.

Dear Mr. Heller,

Attached is a letter regarding document preservation in connection with your representation of Rick Singer.

Please contact me if you have any concerns.

Best,

Eoin

Eóin Beirne | Member
       Case 1:19-cr-10080-NMG Document 972-15 Filed 03/25/20 Page 6 of 6



Mintz, Levin, Cohn, Ferris, Glovsky and Popeo, P.C.
One Financial Center | Boston, MA 02111
Direct: +1.617.348.1707<tel:+1.617.348.1707> | Fax: +1.617.542.2241<tel:+1.617.542.2241>
E-mail: EPBeirne@mintz.com<mailto:EPBeirne@mintz.com>
Web: www mintz.com<http://www.mintz.com/>

[cid:image003.jpg@01D5F6E6.9316E5C0]


________________________________



STATEMENT OF CONFIDENTIALITY:
The information contained in this electronic message and any attachments
to this message are intended for the exclusive use of the addressee(s)
and may contain confidential or privileged information. If you are not
the intended recipient, or the person responsible for delivering the
e-mail to the intended recipient, be advised you have received this
message in error and that any use, dissemination, forwarding, printing,
or copying is strictly prohibited. Please notify Mintz, Levin, Cohn,
Ferris, Glovsky and Popeo immediately at either (617) 542-6000 or at
DirectorofIT@Mintz.com<mailto:DirectorofIT@Mintz.com>, and destroy all copies of this message and any
attachments. You will be reimbursed for reasonable costs incurred in
notifying us.
